Case 8:13-cV-'01283-AG-A.]W Document 1 Filed 08/21/13 Page 1 of 7 Page |D #:8_1

 

 

 

 

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1 IUNE D. COLEMAN (CSBN 191890) ' ,~§§§ §
2 jcoleman@kmtg.com _ 399 `N 1
DANIELLE R. TEETERS (CSBN 210056) ' ;__ §§ '."_ v F=
3 dteeters@kmtg.com Z,I`."‘;§ 1 -` m
I<RONICK, MOSKOWTZ, TIEDEMANN & ;.,'~ ij ‘=r 0
4 GIRARD *"`;>G' ~ é.°
5 400 Capitol Mall, 27th Floor §§ ` 2
Sacramemo, CA 95314 ' 33
6 T@lephone; (916) 321-4500
7 Facsimile: (916) 321-4555
3 Attorneys for Defendant
' 9 NORTH_LAND GR<)UP
/
10 UNITED STATES DISTRICT COURT
11 CENTRAL DISTRICT 011 CALIFORMA
12
13 JQHN J. TAURO, CASE 1\10.'§T : \1;»¢» (;V 1935 AQ,F@ ,{
14 ' maintiff, (Civn Acmm NO_ 2112-cv-00413 -MRH
15 pending in Western District of
V- Pennsylvania)
16
NORTHLAND GROUP, NOTICE 0F MOTION AND
17 D f d MOTIGN T0 CoMPEL
18 6 en am COMPLIANCE WITH FRCP 45
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20 DEPOSITIQN AND PRoDUCTION
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EXPERIAN AND COMPEL ATTENDANCE AT DEPOS!TION AND PRODUCTION OF DOCUMENTS

 

 

 

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GIRARD
A'r'rmi.\‘£\'s A'r LA\\'_

NOTICE OF MOTION

 

NOTICE IS HEREBY GIVEN that on September 9, 2013, at 255 East
Ternple Street, Los Angeles, CA 90012-3332, the Motion to Compel Compliance
With FRCP 45 Subpoena to Experian and Compel Attendance at Deposition and
Production ofDocuments by Defendant Northland Group Will be heard. This
Motion is made pursuant to Federal Rule of Civil Procedure Rule 45, on the
grounds that Experian has been served a proper subpoena to compel attendance at a
deposition and produce documents for a trial deposition, and has failed to do so
absent a court order.

This motion is based on this Notice and Stipulation and the exhibits attached
thereto, and on such other oral and documentary evidence as may be presented at
the hearing of this matter.

Dated: August 16, 2013 KRONICK, MOSKOVITZ, TlEDEl\/IANN &

GIRARD
A LaW Corporation

By: /s June D. Colernan
June D. Coleman

Attorneys for Defendant
NORTHLAND GROUP

 

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NOTICE OF MOTION AND MOTION TO COMPEL COMPLIANCE WITH FRCP 45 SUBPOENA TO
EXPER]AN AND COMPEL ATTENDANCE AT DEPOSIT!ON AND PRODUCTION OF DOCUMENTS

 

C'ase 8:13-cV-01283-AG-A.]W Document 1 Filed 08/21/13. Page 3 of 7 Page |D #:83

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KRONlCK,
MOSKOVITZ,
TlEDEMANN &
G!RARD
AT'rr)R,\‘ srs AT LA\\'

PROOF OF SERVICE

1, lune D. Coleman, declare:

1 am a citizen of the United States and employed in Sacramento County,
Califomia. 1 am over the age of eighteen years and not a party to the Within-entitled
action l\/ly business address is 400 Capitol 1\/1all, 27th Floor, Sacramento,
California 95814. On August 16, 2013,1 served a copy of the Within document(s):

NOTICE OF MOTION AND MOTION T() COMPEL
COMPLlANCE WITH FRCP 45 SUBPOENA TO
EXPERIAN AND COMPEL ATTENDANCE AT
DEP()SITION AND PROI)UCTION OF
DOCUMENTS

by transmitting via facsimile the document(s) listed above to the fax
number(s) set forth below on this date before 5:00 p.m.

l:l by placing the document(s) listed above in a sealed envelope With
postage thereon fully prepaid, in the United States mail at Sacramento,
California addressed as set forth below.

by placing the document(s) listed above in a sealed Federal EXpress
envelope and affixing a pre-paid air bill, and causing the envelope to
be delivered to a Federal EXpress agent on August 17 , 2013 for
overnight delivery.

|:| by personally delivering the document(s) listed above to the person(s)
at the address(es) set forth below.

|:| by transmitting via e-mail or electronic transmission the document(s)
listed above to the person(s) at the e-mail address(es) set forth beloW.

John J. Tauro

ll Cornell Avenue, #2
Pittsburgh, PA 15229
(v) 412-415-3232
JontaurSl comeast.net

Ricl< VA Haas

Experian Information Solutions, Inc.
701 Experian Parkway

Allen, TX 75013

1 am readily familiar With the firm’s practice of collection and processing

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NOTICE OF MOTION AND M()TION TO COMPEL COMPLIANCE VVITH FRCP 45 SUBPOENA TO
EXPER!AN AND COMPEL ATTENDANCE AT DEPOSITlON AND PRODUCTION OF DOCUMENTS

 

Case 8:13-cV-01283-AG-A.]W Docu_ment 1 Filed 08/21/13 Page 4 of 7 Page |D #:84

 

 

1 correspondence for mailing Under that practice it Would be deposited With the
2 U.S. Postal Service on that same day With postage thereon fully prepaid in the
3 ordinary course of business 1 am aware that on motion of the party served, service
4 is presumed invalid if postal cancellation date or postage meter date is more than
5 one day after date of deposit for mailing in affidavit
6 1 declare thatl am employed in the office of a member of the bar of this court
7 at Whose direction the service Was made.
8 EXecuted on August 16, 2013, at Sacramento, California.
9
10 /s June D. Coleman
11 June D. Coleman
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ATT¢) R.\'r:\‘s A'r L.\\\‘

 

Case 8:13-cv-012N

JOHN C.-TAURO

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-AJW

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l. (a) PLAlNTlFFS ( Cher:k box lf you are representan yourself [>_"Z_} l

DEFENDANTS

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( Check box lf you are representing yourself 1:| )

NOFlTHLAND GROUP

 

(b) Attorrieys (F\rm Name, Address and Telephone Nu'mber. lf you
are representing yourself. provlde same.)

.IOHN C. TAURO, ln Pro Se

CARLSON & MESSER

 

LLP

5959 W. Century Elvd., Sulte 1214
Los Angeles, CA 90045

(b) Attorneys lFlrm Name, Address and Telephone Number. lf you
are representing yourself, provide same.)
Davld J. Kamlnsld, Esq,

Tcl: 31 012/12-2200

 

 

 

 

 

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|l- BASl$ OF JUR\SD\CT|ON (Place an X in one box only.) l|l. CITIZENSH\P GF PR|NC|PAL FART|ES-For Divers|ty Cases Only
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CLA$S ACTION_ under F,R.CV.P. 23: '|:| Yes [Z No

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Vl. CAUSE OF ACT|ON (Clté the U.S. Clvll Stamte under whlch you are flllng and wr\re a brle statement ofcause. Da not cite Jurlsdlctlonal statutes unless dlver$lty.)
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Page 1 of 2

Case 8:13-cv-01283-AG-A.]W Document 1 Filed 08/21/13 Pa%e 6 of 7 Pa e |D #:86

 

UN|TED STATES DlSTRiCT.COURT, CENTRAL Dl$TRlCT F CALIFORNI
ClVlL COVER SHEET
Vlll(a). iDENTiCAL CASES: l-ias this action been previousiyflied in this court and dismissed, remanded or ciosed? NO [:| YES
if yes, list case number(s):
Vlli(b), RELATED CASES: Have any cases been previously filed in this court that are related to the present case? [:l NO [Z] YES

if yes. list case number(s): 2:13 MC 230

 

Clvli cases are deemed related if a previously filed case and the present cases

(Ch°*ck an boxes ibm appiyl lz] A, Arise from the same or closely related transactions heppenings, or evenis; or
B. Cali for determination of the same or substantially related or similar questions of law and frict; or
' C. For other reasons would entail substantial duplication of labor if heard by different iudges; or

|:| D. involve the same patent, trademark or copyrightr_enl:l_one of the factors identified above in a, b or'c also is present.

 

iX. VEN\JE: (wiierr completing the following information use nn additional sheer if necessary-l

(a) i.|st the County in this Dlstrlct; Cailfornla County outside of this District,' State if other than Cailfornia; or Foreign Coumry, in which EACi-i named
plaintiff resides.

|:l Check here ifthe government, its agencies or employees is a named plaintiff. if this box is checked go to item (b).

 

Ca|ifornio County outside of this Distrli:t; 'State, if other than California; or Foreign

County in this District:* l Countrv

 

Aliegheny County, PA

 

 

 

 

(b) List the County in this Districc; Caiifornia County outside of this District; Stete if other than California; or Forelgn Country, in which EACH named
defendant resides.

ij Check here if the government its agencies or employees is a named defendant. if this box is checked, go to item (c).

 

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county in this Dlstrict:" k Couritrv

,Orange County for Defendant Experian

 

 

(c) Llst the County in this Dis`trlct; Cairfornia County outside ofthis District; State if other than Caiifornia; or Foreign Country, in which F.ACH claim arose.
NOTEi ln land condemnation cases, use the location cf the tract of land |nvoived.

Ca|ifornia County outside of this Dlstrict; State, if otherthan i.‘.eiifornial or Foreign
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Orange County

 

 

 

*Los Angoies, Orango, San mardino, Rlvorside, Ventura, Santa Barhsra, or Snn Luls Oblspo Countios ~
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i<ey to Statistlcal codes relating to Soclai Securlty Cases:

 
 
   
 

 

Nature' of Suit Codn Abhreviation t Substantivo Statemont of Cl! use of Action
Aii claims for health insurance benefits iMedicare) under‘i‘irie 18, Part A, of the Soclai Securit Act, irs amended Aiso,
801 HiA include claims by hospitais, skilled nursing facilities etc., for certification as providers of serv ces under the program
l42 u.s.c iessFi=ib)) ' v
862 BL §§ claims for"Biack i.ung" benefits under 'i'itie 4, Part B, of the Federai Coal Mine i-ieaith and Safety Act of 1969.(30 U.S.C.
, 3) d
All claims filed b insured workers for disability insurance benefits under Titie 2 ofthe Soclal Securi Act, as amended; his
353 D'WC ali dams meal roll childs insurance navarro based on disability liz us.c. 405 igll tyr p
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863 DlWW amended.liz u.s.c. 405 igil ry y t'
Aii claims for supplemental security income payments based upon disability filed under 'l'ltle 16 of the Sociai Sei:l-ll‘ity /\Ci, 35
864 ES|D amended.
865 Rsl Ali claims for retirement (oici age) until survivors benefits under Tiiie 2 ofthe Sociai security lict, us amended
. (42 U.S.C. 405 (g))

 

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Case 8:13-cV-01283-AG-A.]W Document 1 Filed 08/21/13 Page 7 of 7 Page |D #:87

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

NOTICE OF ASSIGNMENT TO UNITED STATES IUDGES

This case has been assigned to District ]udge Andr€W l. GuilfOrd and the assigned
Magistrate ]udge is Andrew ]. Wistrich

 

 

The case number on all documents filed With the Court should read as folloWs:

8:13-CV-01283 AG-A]WX

 

Pursuant to General Order 05-07 of the United States District Court for the Central District of

California, the Magistrate ]udge has been designated to hear discovery related motions.

All discovery related motions should be noticed on the calendar of the Magistrate Iudge.

Clerk, U. S. District Court

 

 

 

August 21, 2013 By SBOURGEO
Date Deputy Clerk
NOTICE TO COUNSEL

A copy of this notice must be served with the summons and complaint on all defendants (1f a removal action is
filed, a copy of this notice must be served on all plainti]j€s).

Subsequent documents must be filed at the following location:

Western Division |:] Southern DiVision |:| Eastern Division
312 N. Spring Street, G-8 411 West Fourth St., Ste 1053 3470 TWelfth Street, Roorn 134
Los Angeles, CA 90012 Santa Ana, CA 92701 Riverside, CA 92501

Failure to file at the proper location will result in your documents being returned to you.

 

CV-lS (08/13) NOTICE OF ASSIGNMENT TO UNITED STATES ]UDGES

